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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


 KYLE BOSARGE,                               :
                                             :
        Plaintiff,                           :
                                             :
 vs.                                         :    CIVIL ACTION NO. 1:18-cv-240-TFM-N
                                             :
 MOBILE AREA WATER & SEWER                   :
 SERVICE, et al.,                            :
                                             :
        Defendants.                          :

                                            JUDGMENT

        In accordance with the Court’s Memorandum Opinion and Order that was entered on this

 same date, it is hereby ORDERED, ADJUDGED, and DECREED that Plaintiff’s claims are

 DISMISSED with prejudice.

        The Clerk of Court is DIRECTED to enter this document on the civil docket as a final

 judgment pursuant to Fed. R. Civ. P. 58.

        DONE and ORDERED this the 23rd day of November 2022.

                                             s/Terry F. Moorer
                                             TERRY F. MOORER
                                             UNITED STATES DISTRICT JUDGE
